-0    2458    (Rev. 06/05)Case
                           l u d v e n9:07-cr-00014-DWM
                                      t in a Criminal Care                              ,.
                                                                 Document 54 Filed 12/07/07   .:,;\3
                                                                                               Page  ENTEREL'
                                                                                                       1 of 6
              Sheel I                                                                  IN f-I         nnf KFT



              MISSOULA DIVISION
          UNITED STATES O F AMERICA
                             v.
                                                                          Case Number:                       C R 07-14-M-DWM-01
              DAVID ALLEN MOORSE                                          USM Number:                        09504-046

                                                                          Andrew J. NeIson
                                                                          Defendant's Anomev
THE DEFENDANT:
X pleaded guilty to count(s)      1
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Ollense                                                            Ollense Ended             Couot
18 U.S.C. 5 922(g)(3)           Unlawful user of controlled substance in possession of a firearm               Oct. 2005                  I




       The defendant is sentenced as provided in pages 2 through                   6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
X Count(s)      I1                                      X   is        are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da s of any change of name, residence,
or mailin address until all fmes, restitution,,costs, and special assessments imposed by thls judgment are
the defen%antmust notify the court and Unlted States attorney of material changes in econornlc circumstances.
                                                                                                              fdy paid. If ordered to pay restltutlon,


                                                                          December 7.2001                /
                                                                          Date o
                                                                                 fieaWPI4 f\
                                                                                       p I o o udgment




                                                                          Donald W. F+follov, C ief Judge
                                                                          Name and TI& of Judge

                                                                                       /
                                                                          ~ e c e m d e 7.2007
                                                                                        r            1
                                                                          Date
                                                                                              A
A 0 245B    Rev. 06/05)  -
                         Case in9:07-cr-00014-DWM
                      , Judoment
            Sheet 2 - Imprisonmmt
                                 Criminal Cme                 Document 54 Filed 12/07/07 Page 2 of 6


DEFENDANT:                   DAVID ALLEN MOORSE
CASE NUMBER:                 C R 07-14-M-DWM-01


                                                           IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tern of:

            30 months



       X    The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that Defendant be permitted to participate in the 500-Hour Residential Drug Treatment
            Pro am, ifeligible. Defendant has a serious drug problem, which has led to much ofhis crimlnal conduct. Defendant
                f
            nee s to address this problem if he is to become a productive member of society when he is released from prlson.


      X      The defendant is remanded to the custody of the United States Marshal

       17    The defendant shall surrender to the United States Marshal for this district:
                  a                             17 a.m.           p.m.       on
                  as notified by the United States Marshal.

       17    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m.
                  as notified by the United States Marshal.
                  as notified by the Probation or Prehial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




            Defendant delivered                                                         to

at                                                , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         BY
                                                                                              DEPUTY UNITED STATES MARSHAL
A 0 245B      (Rev 06/05)l u d p e n t in a Criminal Care
              Sheet 3 -Supervised Release
                            Case 9:07-cr-00014-DWM Document 54 Filed 12/07/07 Page 3 of 6
                                                                                                           Judgment-Page   3of                 6
DEFENDANT:                      DAVID ALLEN MOORSE
CASE NUMBER:                    CR 07-14-M-DWM-01
                                                                SUPERVISED RELEASE
Upon release kom imprisonment, the defendant shall be on supervised release for a term o f :

           3 years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pr~sons.
The defendant shall not commit another federal, state or local crime
Tlie defendant shall not unlawfully possess a controlled substance Ihe defendant shall refiatn from ar.) unlawful use of,a controlled
thereafter, as determined by the court.
                                                            -
substance [he defendant shall submlt to one drug test w ~ t h ~15n days of release from imprisonment and at least two per~od~cdrug tests

         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a iireatm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fme or restitution, it is a condition of supervised rclease that the defendant pay in accordance with the
               ?
Schedule o Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fmt five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation ofticer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
          the defendant shall work regularly at a lawful occupation, unless excused by the probation oficer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shalI refrain kom excessive use of alcohol and shall not purchase, possess, use, distribute, or adm~nisterany
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physic~an;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with an) persons en aged in criminal activit) and shall not associate wlth any person convicted of a
          felony, unless granted permission to do so by the pro&ationofticer.
 10)      the defendant shall pe~mita probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed m plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the robation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ,persona! history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
A 0 2458                      w e n t in acriminal Care
           (Rev. 06/05). J u d.
           Sheet 3C -CaseSupervised 9:07-cr-00014-DWM
                                       Release            Document 54 Filed 12/07/07 Page 4 of 6
                                                                                     Judgment-Page   4 of          6
DEFENDANT:              DAVID ALLEN MOORSE
CASE NUMBER:            CR 07-14-M-DWM-01

                                    SPECIAL CONDITIONS OF SUPERVISION

I . The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol
    is the primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol
    consumption only.
2. The defendant shall articipate in substance abuse testing, to include not more than 130 urinalysis tests and not
   more than 130 breatialyzer tests annuall during the per~odof supervision. The defendant is to pay all or part
   of the costs of testing as determined by d e United States Probation Officer.
3. The defendant shall partici ate in and complete a program of substance abuse treatment as approved by the
   United States Probation 0if~ c euntil
                                      ,    the defendant is released from the rogram by the probation officer. The
                                                                              B
   defendant is to pay part or all of the cost of this treatment, as determine by the United States Probation
   Officer.
4.   The defendant shall submit his person, residence, lace of employment, or vehicle, to a search, conducted by a
                                                             E
     United States Probation Officer, based on reasona le suspicion of contraband or evidence in violation of a
     condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any
     other residents that the premises may be subject to searches pursuant to the condition.
5. The defendant will provide the United States Probation Officer with any requested financial information and
     shall incur no new llnes of credit without the prior approval of the United States Probation Officer.
6 . The defendant shall not ossess any police radio scanning devices or possess any computer hardware or
                               'k
    software that would ena le the defendant to monitor law enforcement activity.
7.   The defendant shall obtain a G.E.D. or high school diploma within three years of the date of this Judgment.
A 0 2458   (Rev. 06105) Judgment in a Criminal Case
                         Case
           Sheet 5 -Criminal     9:07-cr-00014-DWM
                              Monetary  Penalties               Document 54 Filed 12/07/07 Page 5 of 6
                                                                                        Judgment- Page 5o f                             6
 DEFENDANT:                      DAVID ALLEN MOORSE
 CASE NUMBER:                    CR 07-14-M-DWM-01
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                           -
                                                                           Fine                              Restitution
 TOTALS           $ lo0                                                $                                   $ 508.55



     The determination of restitution is deferred until     -. An           Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each pa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise jn
     the priority order or percentage payment columnxelow. However, pursuant to 1 8 V s . 8 . 5 3664&, all nonfederal victms must be paid
     before the United States is paid.

Name of Pavee                                 Total Loss*                         Restitution Ordered                 Priority or Percentaee
Richard Meisinger                                           508.55                                508.55                                  100%
933 Gladis Drive
Missoula, Montana 59804




TOTALS                            $                         508.55            $                     508.55


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 36120. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the              fine       X rcstitution.
           the interest requirement for the          fine            restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apr1l23, 1996.
A 0 245B   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schcdule
                         Caseof Payments
                                 9:07-cr-00014-DWM            Document 54 Filed 12/07/07 Page 6 of 6
                                                                                        Judpent- Page 6of                                    6
DEFENDANT:                 DAVID ALLEN MOORSE
CASE NUMBER:               C R 07-1 4-M-DWM-0 I

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sum payment of $                             due immediately, balance due

                 not later than                                 , Or
                 in accordance             C,        D,           E, or         F below; or
B          Payment to begin immediately (may be combined with             C,            D, or         F below); or
C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release kom imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence withim                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessinent of the defendant's ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
           Defendant shall pay to the United States a special assessment of $100, which shall be due immediately or at a rate of not less than
           $25 Der auarter. Defendant shall oav restitution. iointlv
                                                                   , and severallv with eo-defendant Michael David West Wisdom. m the
                                                                               ~~~~~   ~~~   ~




           a m o h df $508.55 at a rate of s5b.60 per month,'or as otherwise dikcted b united States Probation. Payment shall tie made to
           the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 598J7, and shall be disbursed to the payee listed on page 5
           of this Judgment.


Unless the coun has express1 ordcr6d otherwise, ifthisjudbmeni imposes imprisonment, ayment ofcriminal monetq penalties is due dur~n
                                                                                                 PI
Imprlson.men1. All crlmlna monetar penaltlef, except those payments made throug the Federal Bureau ot Pr~sons'Inmate Financ~a
                                       X
Rrspons~bllityProgram, are made to I e clerk of the coun.
                                                                                                                                                 7
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X     Joint and Several

      Defendant and Co-Defendant Names and Case Numben (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Defendant shall pa restitution, jointly and severally with co-defendant Michael David West Wisdom, CR 07-14-M-DWM-02, in the
      amount of $508.55? Payment shall be disbursed to the payee listed on page 5 of thls Judgment.



      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following propetly to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme pnhcipal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and c o ~ ucosts.
                                                                                                                    t
